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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 1 of 10

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff,

VS.

David Allen Harbour,

Defendant.

 

 

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CR-19-00898-PHX-DLR

VERDICT FORM

We, the Jury, find the defendant, David Allen Harbour, as to the charges of the

 

 

 

 

 

 

 

 

 

Indictment:
WIRE FRAUD
18 U.S.C. § 1343
COUNTS 1-10
Count 1:
Wire Date Recipient
Count (On or About) mender (or Receiving Bank) Item Sent
Oak Tree
1 07/30/2014 SNI Fund 1/R.T. Management NT $500,000.00
1790
David Allen Harbour “GUILTY NOT GUILTY

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 2 of 10

 

 

 

 

 

 

 

 

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Count 2:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
Pujanza Management,
2 12/02/2014 M.B. LLC BMO $244 $1,000,000.00
David Allen Harbour _ GUILTY NOT GUILTY
Count 3:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
Oak Tree
3 08/11/2015 Green Circle Management BMO | $1,100,000.00
1964
David Allen Harbour i GUILTY NOT GUILTY
Count 4:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
Harbour Family
4 12/31/2015 Pujanza Management M.B. $8,125.00
BMO x5244
David Allen Harbour GUILTY wv NOT GUILTY

 

 

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 3 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 5:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
Harbour Family
5 04/04/2016 | Pujanza Management M.B. $8,125.00
BMO x5244
David Allen Harbour GUILTY “ NOT GUILTY
Count 6:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank). Item Sent
Harbour Family
6 07/19/2016 | Pujanza Management M.B. $8,125.00
BMO x5244
David Allen Harbour “GUILTY NOT GUILTY
Count 7:
| Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) item Sent
Harbour Family
7 10/17/2016 Pujanza Management MLB. $8,125.00
BMO x5244 _|
David Allen Harbour “ GUILTY NOT GUILTY

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 4 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 8:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
Harbour Family
g 01/20/2017 Pujanza Management M.B. $8,125.00
BMO x5244
David Allen Harbour “~~ GUILTY NOT GUILTY
Count 9:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
9 03/15/2016 GC BMO x9606 R.T/C.LF. $10,942.24
David Allen Harbour GUILTY NOT GUILTY
Count 10:
Wire Date Recipient
Count (On or About) Sender (or Receiving Bank) Item Sent
10 06/15/2016 GC BMO x9606 R.T/C.LF. $11,062.49
David Allen Harbour GUILTY “NOT GUILTY

 

 

 

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 5 of 10

MAIL FRAUD
18 U.S.C. § 1341
COUNTS 11-12

 

 

 

 

 

 

 

 

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Count 11:
Count | Payor Account | Check Date Item Mailed Amount
. . Check # 3231 to
one oon Liberty Trust Co.
11 P P» | 4/22/2016 | FBO: Alison Wilson $7,500.00
LLC BMO :
x7406 in the amount of
$7,500.
David Allen Harbour GUILTY Y NOT GUILTY
Count 12:
Count | Payor Account | Check Date Item Mailed Amount
HighPointe Check # 3242 IRA
Capital Group, Fee TC003721 Carol
V2 LLC BMO 3/3/2016 Hill in the amount of $255.00
x7406 $255.00
David Allen Harbour GUILTY ~~ NOT GUILTY

 

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 6 of 10

Transactional Money Laundering

18 U.S.C. § 1957

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT 13-24
Count 13:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Check #1238 from DNA
13 08/05/2014 $34,665.33 Northern Trust Investments Northern
Trust x9412 to D.S.
David Allen Harbour “GUILTY NOT GUILTY
Count 14:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Transfer from Oak Tree
Northern Trust x1790 to
14 08/08/2014 $37,500.00 Northern Trust
DNA Management
Northern Trust x3388
David Allen Harbour mo GUILTY NOT GUILTY

 

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 7 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 15:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Transfer from DNA
Management NT3388 to
15 08/08/2014 $37,500.00 Northern Trust
HighPointe Capital
Group BOA x3354
David Allen Harbour “GUILTY NOT GUILTY
Count 16:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution ‘Transaction
Transfer from
HighPointe Capital
16 08/08/2014 $37,500.00 Bank of America
Group BOA x3354 to
Herrington Park 1, LLC
David Allen Harbour “GUILTY NOT GUILTY
Count 17:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Check #1542 from 21020
17 08/21/2014 $12,083.90 Northern Trust | Northern Trust x5180 to
J.R.G.
David Allen Harbour GUILTY NOT GUILTY

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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 8 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 18:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
ACH Debit Payment
from DNA Investments
$142,785.88
18 08/27/2014 Northern Trust | Northern Trust x9412 to
Defendant HARBOUR
American Express
David Allen Harbour ~ GUILTY NOT GUILTY
Count 19:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Transfer from
$13,682.69 HighPointe Capital
19 08/28/2014 Bank of America
Group BOA x3354 to
Employment Edge
_ David Allen Harbour GUILTY NOT GUILTY

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 9 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 20:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
ACH Debit Payment
from DNA Management
$223,121.88
20 12/04/2014 Northern Trust | Northern Trust x3388 to
Defendant HARBOUR
American Express
David Allen Harbour a GUILTY NOT GUILTY
Count 21:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Oak Tree BMO 1964 to
21 8/12/2015 $915,000.00 BMO Harris
Milagro BMO 5236
David Allen Harbour — GUILTY NOT GUILTY

 

 

 

 
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Case 2:19-cr-00898-DLR Document 682 Filed 03/02/23 Page 10 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count 22:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Milagro BMO 5236 to
22 08/13/2015 $750,000.00 Bank of America | Defendant HARBOUR
BOA x8017
David Allen Harbour w GUILTY NOT GUILTY
Count 23:
Date Amount Financial Description of
Count
(On or about) | (Approximate) Institution Transaction
Defendant HARBOUR
23 09/02/2015 $500,000.00 Bank of America BOA x8017 to FTC
Receiver LEC
David Allen Harbour “GUILTY NOT GUILTY

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